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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 7

ART VAN FURNITURE, LLC, et al.,1                                Case No. 20-10553 (CTG)

                                      Debtors.                  Jointly Administered

                                                                Re: Docket No. 1396

        ORDER GRANTING THIRD OMNIBUS MOTION OF ALFRED T. GIULIANO,
          CHAPTER 7 TRUSTEE, TO APPROVE SETTLEMENT AGREEMENTS

                    Upon consideration of the Third Omnibus Motion of Alfred T. Giuliano, Chapter

7 Trustee, to Approve Settlement Agreements (the “Motion”)2 of Alfred T. Giuliano, chapter 7

trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), for entry of

an order (this “Order”), pursuant to sections 105(a) and 363(b) of the Bankruptcy Code and

Bankruptcy Rule 9019, to approve the settlement agreements (the “Settlement Agreements”)

between the Trustee and (a) J. B. Hunt (“Hunt”); (b) Lightning Transportation,, Inc.

(“Lightning”); and (c) Golden Bros. d/b/a Ultracomfort (“Ultracomfort”) (the above collectively

referred to herein as the “Defendants”); copies of which Settlement Agreements are attached

hereto as Exhibits 1 through 3; the Court having reviewed the Motion and the Settlement

Agreements and having considered the record with respect to the Motion; the Court having found

that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012, and that this Court may enter a final order consistent with

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   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings
I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463).
2   Capitalized terms not otherwise defined herein shall have the meaning given to them in the Motion.
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Article III of the United States Constitution, (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b), (c) notice of the Motion was sufficient under the circumstances and in full compliance

with Bankruptcy Rule 2002 and the local rules of this Court, (d) the Settlement Agreements

(i) are the product of good faith, arms’ length negotiations among the Parties, without collusion,

(ii) are fair, reasonable, appropriate and in the best interests of the Debtors’ estates and

(iii) represent a sound exercise of the Trustee’s business judgment and (e) each of the Parties to

the Settlement Agreements provided sufficient consideration for the transactions contemplated

by the Settlement Agreements; and the Court having determined that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; IT IS HEREBY

ORDERED THAT:

                   1.   The Motion is granted as set forth herein.

                   2.   The terms of the Settlement Agreements attached hereto as Exhibits 1

through 3 are APPROVED in their entirety pursuant to sections 105(a) and 363(b) of the

Bankruptcy Code and Bankruptcy Rule 9019.

                   3.   The Parties are hereby authorized to take such additional actions or

execute such additional documents as are necessary or appropriate to implement the terms of the

Settlement Agreements.

                   4.   Notwithstanding the possible applicability of Rules 6004, 7062, or 9014 of

the Bankruptcy Rules, any other Bankruptcy Rule, this Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of effectiveness or execution of this Order.




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                   5.     The Court shall retain exclusive jurisdiction over any and all matters

arising from or related to the implementation, interpretation, or enforcement of the Settlement

Agreements or this Order.




 Dated: April 4th, 2022                                  CRAIG T. GOLDBLATT
 Wilmington, Delaware                                    UNITED STATES BANKRUPTCY JUDGE




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